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                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF KENTUCKY
                                Pikeville Division


    In re:

       Justin Todd Trout,                           Case No. 18-70695
                                                    Chapter 7
             Debtor.


                          Notice of Subpoena to US Bank

      Please take notice that, pursuant to Fed. R. Bankr. P. 9016, the United

   States Trustee, by counsel, has issued the attached subpoena to US Bank for

   the production of documents on September 9, 2019 at the Office of the United

   States Trustee, 100 E. Vine St., Suite 500, Lexington, KY 40507.

   Dated: August 20, 2019                           Paul A. Randolph
                                                    Acting United States Trustee

                                                    By:/s/ Bradley M. Nerderman
                                                       John L. Daugherty
                                                       Assistant U.S. Trustee
                                                       Rachelle C. Dodson
                                                       Bradley M. Nerderman
                                                       Trial Attorneys
                                                       Office of the U.S. Trustee
                                                       100 E. Vine St., Suite 500
                                                       Lexington, KY 40507
                                                       (859) 233-2822

                                 Certificate of Service

      I certify that on August 20, 2019, I served a copy of the foregoing via ECF
   noticing upon all parties registered to receive notice electronically.
                                                           /s/ Bradley M. Nerderman
                                                           Bradley M. Nerderman
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